        Case 1:20-cv-01681-JPC-JLC Document 18 Filed 11/05/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 11/5/2020
                                                                       :
GILBERTO FARIA,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     20-CV-1681 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
FORD MOTOR COMPANY,                                                    :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        On October 14, 2020, the Court ordered the parties to submit a joint letter updating the Court

on the status of the case by October 28, 2020. (Dkt. 17.) The parties failed to submit this letter to

the Court. Within one week of the filing of this Order, it is hereby ORDERED that either (1) the

parties must file on ECF the joint letter described in Dkt. 17 or (2) each party must submit a letter,

of no more than five pages, showing cause why sanctions should not be imposed in light of the

parties’ failure to comply with the Court’s Order of October 14, 2020.

        SO ORDERED.

Dated: November 4, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
